   Case 4:20-cv-02193         Document 193         Filed on 08/04/23 in TXSD        Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                              UNITED STATES DISTRICT COURT                               August 04, 2023
                               SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


JESSICA CHEATHAM,                                  §
                                                   §
         Plaintiff,                                §
                                                   §
VS.                                                §     CIVIL ACTION NO. 4:20-CV-02193
                                                   §
SCHLUMBERGER TECHNOLOGY                            §
CORPORATION,                                       §
                                                   §
         Defendant.                                §



                                       FINAL JUDGMENT

       This case was presented to a jury that reached a verdict that the plaintiff, Jessica Cheatham,

shall take nothing by her suit. It is, therefore, ORDERED that the plaintiff takes nothing by her

suit. All permitted costs taxed against the plaintiff.

       This is a Final Judgment.

        SIGNED on August 4, 2023, at Houston, Texas.


                                                         _________________________________
                                                         Kenneth M. Hoyt
                                                         United States District Judge




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